         Case 2:15-cv-00113-ODW-AS Document 99 Filed 08/09/16                                             Page 1 of 1 Page ID
                               UNITED STATES DISTRICT COURT
                                           #:482
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                            CASE NUMBER:
         Robert Jaffee et al
                                                                                       2:15-cv-00113-ODW-AS
                                                          PLAINTIFF(S)
                                     v.
                                                                                 NOTICE TO FILER OF DEFICIENCIES IN
            Rudolph Carryl et al
                                                                                 ELECTRONICALLY FILED DOCUMENTS
                                                        DEFENDANT(S) .

PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:
           8/9/16                                       98                         Blank Entry... no text only Attorney Rosen
          Date Filed                                  Doc. No.                 Title of Doc.
                                                                                               name on docket entry
ERRORS WITH DOCUMENT
             A Certificate of Good Standing is not attached to the pro hac vice application
             Caption of document is incomplete/incorrect
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             Title page is missing
             F.R.Civ.P 15 Amended pleading is untimely
             Local Rule 7.1-1 No Certificate of Interested Parties and/or no copies
             Local Rule 7-19.1 Notice to other parties of ex parte application lacking
             Local Rule 11-6 Memorandum/brief exceeds 25 pages
             Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
             Local Rule 19-1 Complaint/Petition includes more than 10 Does or fictitiously named parties
             Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
             Local Rule 56-2 Statement of genuine disputes of material fact lacking
     ✔       Other:
                            PLEASE BE ADVISED the Court reviewed the filing as plaintiffs notice of
                            dismissal and has instructed the Clerk to terminate the case per this filing.
                            No response to this deficiency is required.




                                                                               Clerk, U.S. District Court

Dated:                                                                               By: /S/ Linda_Chai@cacd.uscourts.gov
                     8/9/16
                                                                                                Deputy Clerk
cc: Assigned District Judge and/or Magistrate Judge

                 Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

G-112A (10/13)                     NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
